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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


VICTOR HERNANDEZ-RODRIGUEZ

and

YOLANDA VALLE,

on behalf of themselves and others similarly          Civil Action No.:
situated,
                                                      Collective Action Complaint
              Plaintiffs,

       v.

LGB CONSTRUCTION LLC

and

JOSE JIMENEZ,


              Defendants.



                            COLLECTIVE ACTION COMPLAINT

        1.     Plaintiffs Victor Hernandez-Rodriguez and Yolanda Valle, by and through their

undersigned counsel, bring this action against Defendants LGB Construction LLC and Jose

Jimenez for failing to pay their employees their legally mandated wages in violation of Section

16(b) of the Federal Fair Labor Standards Act of 1938 (the “FLSA”), as amended, 29 U.S.C. §§

201 et. seq., the D.C. Minimum Wage Revision Act (the “DCMWA”), D.C. Code §§ 32-1001 et.

seq.; the D.C. Wage Payment and Collection Law (the “DCWPCL”), D.C. Code §§ 32-1301 et.

seq.; the D.C. Workplace Fraud Act, (the “DCWFA”), D.C. Code §§ 32-1331.01.-.15; the

Maryland Wage and Hour Law (the “MWHL”), Maryland Code Annotated, Labor and
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Employment Article §§ 3-401 et. seq.; the Maryland Wage Payment and Collection Law (the

“MWPCL”), Maryland Code, Labor and Employment Article §§ 3-501 et. seq.; and the Maryland

Workplace Fraud Act (the “MWFA”), Maryland Code, Labor and Employment Article §§ 3-901

et. seq.

                                 JURISDICTION AND VENUE

           2.   This Court has jurisdiction over Defendants pursuant to Section 16(b) of the

FLSA, 29 U.S.C. § 216(b), and 28 U.S.C. § 1337(a) relating to “any civil action or proceeding

arising under an Act of Congress regulating commerce.” Subject matter jurisdiction is invoked

under 28 U.S.C. § 1331. This Court has supplemental jurisdiction of Plaintiffs’ state law claims

pursuant to 28 U.S.C. § 1367.

           3.   Venue is proper pursuant to 28 U.S.C. § 1391(b)(1), as Defendant LGB

Construction LLC resides in this district, and all Defendants reside in this state.

                                             PARTIES

           4.   Plaintiff Victor Hernandez-Rodriguez was employed by Defendants as a

construction worker at various sites in the District of Columbia Metropolitan Area. He completed

work at various locations in Virginia, Maryland, and the District of Columbia.

           5.   Plaintiff Yolanda Valle was employed by Defendants as a construction worker at

various sites in the District of Columbia Metropolitan Area. She completed work at various

locations in Virginia, Maryland, and the District of Columbia.

           6.   Defendant LGB Construction Services LLC (“LGB”) is a Virginia corporation that

provides construction services in the District of Columbia metropolitan area.

           7.   Defendant Jose Jimenez (“Jimenez”) is the owner of LGB Construction Services,

was Plaintiffs’ immediate superior at LGB, was personally responsible for assigning Plaintiffs’ to

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their work assignments, and was personally responsible for paying Plaintiffs throughout their

employment at LGB at all times relevant to the claims herein.

                                   FACTUAL ALLEGATIONS

       8.      Defendants LGB and Jimenez employed Plaintiff Hernandez-Rodriguez to work

on different construction projects in the District of Columbia metropolitan area from

approximately 2009 or 2010 through 2019. Plaintiff Hernandez-Rodriguez worked at locations in

the District of Columbia, Maryland and Virginia.

       9.      Defendants LGB and Jimenez employed Plaintiff Valle to work on different

construction projects in the District of Columbia metropolitan area in 2019. Plaintiff Valle

worked at locations in the District of Columbia, Maryland and Virginia.

       10.     Plaintiffs’ services were directed and controlled by Defendants LGB and Jimenez.

The work Plaintiffs performed was within the usual course of Defendants’ construction business.

Plaintiffs were not engaged in work that is customarily an independently established trade, and

Plaintiffs were not exempt employees.

       11.     As construction workers, Plaintiffs employment varied in location depending on

the project site to which they were assigned.

       12.     Each Defendant was an employer of each Plaintiff. The employer-employee

relationship existed because each Defendant directly controlled the work of each Plaintiff and had

the power to hire and fire each Plaintiff.

       13.     While employed by Defendants at the Project, Plaintiffs frequently worked in

excess of forty hours per week, but they were not paid at the time and a half overtime rate for

such overtime work.



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       14.      While working for Defendants, Plaintiffs were treated, for tax purposes, as

independent contractors, rather than employees.

       15.      For example, Defendants did not deduct payroll taxes from Plaintiffs’

compensation.

       16.      For example, Defendants did not compensate Plaintiffs with an overtime premium

for hours worked over forty in any one workweek.

       17.      For example, Defendants issued Plaintiff Hernandez-Rodriguez at least one IRS

Form 1099.

       18.      Plaintiffs’ worksite locations did not contain posted notices of employees’ rights,

including their right to receive overtime compensation for work hours over forty.

       19.      As employers of the Plaintiffs, Defendants are jointly and severally liable for the

Plaintiffs’ unpaid wages.

                            COLLECTIVE ACTION ALLEGATIONS

       20.      This action is maintainable, as to the FLSA and D.C. law claims, as an opt-in

collective action pursuant to the 29 U.S.C. § 216(b) and D.C. Code § 32-1308(a)(i)(C).

       21.      Defendants failed to pay Plaintiffs and all others similarly situated one-and-a-half

times their regular rate of pay for those hours worked in excess of forty in any one workweek, as

required by the FLSA.

       22.      Defendants improperly classified employees as independent contractors.

       23.      Defendants’ conduct was willful, repeated, knowing, and intentional.

       24.      This action can, and should, be maintained as a collective action for all claims to

unpaid overtime compensation that can be redressed under the FLSA, DCMWA, and the

DCWPCL.

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       25.     This action can, and should, be maintained as a collective action for all claims to

employee misclassification that can be redressed under the DCWFA.

       26.     For those claims that can be certified as a collective action, Plaintiffs seek

certification of these claims as a collective action on behalf of all employees of Defendants who

were not compensated with one-and-a-half times their regular rate of pay for those hours worked

in excess of forty in any one workweek, and on behalf of all employees of Defendants who were

unlawfully treated as independent contractors when they were in fact employees, at any time from

the earliest date actionable under the limitations period applicable to the given claim until the date

of judgment.

       27.     Upon information and belief, there are more than 40 similarly situated current and

former employees of Defendants who have been subjected to the same unlawful conduct that

Plaintiffs challenge herein.

       28.     Members of the proposed collective action are similarly situated.

       29.     Members of the proposed collective action have been subjected to the same or

substantially the same pay policies and practices. The identities of the members of the proposed

collective action are known to Defendants and can be located through Defendants’ records.

       30.     Plaintiffs hereby consent to be a party plaintiffs in this action under the 29 U.S.C.

§ 216(b).

                                      CAUSES OF ACTION

                               COUNT I
      VIOLATION OF THE FEDERAL FAIR LABOR STANDARDS ACT (FLSA) –
                             OVERTIME

       31.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

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       32.     The FLSA requires employers to pay non-exempt employees an overtime premium

of one and one half times their regular hourly rate for hours worked in excess of 40 hours in any

one work week.

       33.     Defendants violated the FLSA by knowingly failing to pay Plaintiffs and other

similarly situated individuals one and one half times their regular hourly rate for hours worked in

excess of 40 hours in any one work week.

       34.      Plaintiffs were “employees” and Defendants were their “employers” under the

FLSA § 203.

       35.     Defendants’ violations of the FLSA were repeated, knowing, willful, and

intentional.

       36.     WHEREFORE, Defendants are liable to Plaintiffs, and all other similar situated

individuals, under the FLSA, 29 U.S.C. § 216(b), for all unpaid wages and unpaid overtime

wages, plus an equal amount in liquidated damages, attorney’s fees, costs, and any other and

further relief this Court deems appropriate.

                                COUNT II
      VIOLATION OF THE D.C. MINIMUM WAGE REVISION ACT (DCMWA) –
                               OVERTIME

       37.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       38.     Plaintiffs, and all others similarly situated, were “employees” and Defendants were

their “employers” under the DCMWA, D.C. Code § 32-1002 et. seq.

       39.     Section 32-1003(c) of the DCMWA provides that “[n]o employer shall employ any

employee for a workweek that is longer than 40 hours, unless the employee receives



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compensation for employment in excess of 40 hours at a rate not less than 1 ½ times the regular

rate at which the employee is employed.”

       40.       Defendants violated the DCMWA by knowingly failing to compensate Plaintiffs,

and all other similarly situated individuals, the rate of time-and-one-half (1½) their regular hourly

rate for every hour worked in excess of forty (40) in any one workweek.

       41.       Defendants’ violations of the DCMWA were repeated, willful, and intentional.

       42.       WHEREFORE, Defendants are liable to Plaintiffs, and all other similarly situated

individuals, under the DCMWA, D.C. Code § 32-1012, for all unpaid overtime wages, plus

liquidated damages, attorney’s fees, costs, and any further relief that this Court deems

appropriate.

                           COUNT III
VIOLATION OF THE MARYLAND WAGE AND HOUR LAW (MWHL) – OVERTIME

       43.       Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       44.       Plaintiffs and all those similarly situated were “employees” and Defendants were

their “employers” under the MWHL, Md. Code, Lab. & Empl. § 3-401.

       45.       As employers of Plaintiffs and all those similarly situated, Defendants were

obligated to pay Plaintiffs at the rate of one and on-half (1½) times Plaintiffs’ usual hourly wage

for hours worked each week in excess of forty (40) under the MWHL, Md. Code, Lab. & Empl.

§§ 3-415, 420.

       46.       Defendants violated the MWHL by failing to compensate Plaintiffs and all those

similarly situated the rate of time-and-one-half (1½) their regular hourly rate for every hour

worked in excess of forty (40) in any one workweek.


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       47.     Defendants’ violations of the MWHL were repeated, willful, intentional, and in

bad faith.

       48.     WHEREFORE, Defendants are liable to Plaintiffs and all similarly situated

employees, under the MWHL , for all unpaid overtime wages, liquidated damages, attorney’s

fees, costs, and any other further relief this court deems appropriate.

                             COUNT IV
VIOLATION OF THE D.C. WAGE PAYMENT AND COLLECTION LAW (DCWPCL) –
                          UNPAID WAGES

       49.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       50.     Plaintiffs and all those similarly situated were “employees” and Defendants were

their “employers” under the DCWPCL, D.C. Code § 32-1301.

       51.     Under the DCWPCL, D.C. Code § 32-1302, Defendants were required to pay

Plaintiffs and all those similarly situated all wages due for work performed.

       52.     Defendants failed to timely pay Plaintiffs and all those similarly situated all wages

due for the hours they worked, in violation of the DCWPCL, D.C. Code § 32-1302.

       53.     Defendants’ violations of the DCWPCL were repeated, willful, and intentional.

       54.     WHEREFORE, Defendants are liable to Plaintiffs and all those similarly situated

under the DCWPCL, D.C. Code § 32-1308, for their unpaid wages, liquidated damages,

attorneys’ fees, costs, and any other further relief this court deems appropriate.

                             COUNT V
   VIOLATION OF THE MARYLAND WAGE PAYMENT AND COLLECTION LAW
                      (MWPCL) – UNPAID WAGES

       55.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

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       56.     Defendants were the “employers” of Plaintiffs and others similarly situated under

the MWPCL, Md. Code, Lab. & Empl. § 3-501.

       57.     Under the MWPCL, Md. Code, Lab. & Empl. § 3-502, Defendants were required

to pay Plaintiffs and all similarly situated employees all wages for work performed.

       58.     Defendants failed to timely pay Plaintiffs and all similarly situated employees their

required wage rate for all the hours they worked, in violation of the MWPCL, Md. Code, Lab. &

Empl. § 3-502.

       59.     Defendants violations of the MWPCL were repeated, willful, and intentional.

       60.     WHEREFORE, Defendants are liable to Plaintiffs and all similarly situated

employees under the MWPCL, § 3-507.1, for their unpaid wages, liquidated damages, attorney’s

fees, costs, and any other further relief this Court deems appropriate.

                                   COUNT VI
                  VIOLATION OF THE D.C. WORKPLACE FRAUD ACT

       61.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       62.     Defendants classified Plaintiffs as independent contractors, when they were in fact

employees. For example, when Defendants paid Plaintiffs and similarly situated individuals, they

failed to include payroll deductions or overtime premiums.

       63.     The D.C. Workplace Fraud Act, D.C. Code §§ 32.1331.01-.15 prohibits employers

in the construction industry from improperly classifying employees as independent contractors.

       64.     Defendants violated the D.C. Workplace Fraud Act by knowingly and improperly

classifying Plaintiffs as independent contractors, rather than employees.




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       65.     Each time each Plaintiff was paid as an independent contractor rather than an

employee constitutes a separate and independent violation of the Workplace Fraud Act.

       66.     For their violations of the D.C. Workplace Fraud Act, Defendants are liable to

Plaintiffs and all others similarly situated for the wages, salary, employment benefits, and other

compensation denied or lost to them by reason of the violations, compensatory damages, treble

damages for lost wages or damages, and up to $500 for each violation.

                                COUNT VII
             VIOLATION OF THE MARYLAND WORKPLACE FRAUD ACT

       67.     Plaintiffs re-allege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       68.     Defendants classified Plaintiffs as independent contractors, when they were in fact

employees. For example, when Defendants paid Plaintiffs and similarly situated individuals, they

failed to include payroll deductions or overtime premiums.

       69.     The Maryland Workplace Fraud Act, Maryland Code, Labor and Employment

Article §§ 3-901 et. seq., prohibits employers from improperly classifying employees as

independent contractors.

       70.     Defendants violated the Maryland Workplace Fraud Act by knowingly and

improperly classifying Plaintiffs as independent contractors, rather than employees.

       71.     Each time each Plaintiff was paid as an independent contractor rather than an

employee constitutes a separate and independent violation of the Maryland Workplace Fraud Act.

       72.     For their violations of the Workplace Fraud Act, Defendants are liable to Plaintiffs

for economic damages and treble damages for those economic damages.




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                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that the Court enter judgment against all

      Defendants on all counts, jointly and severally, and grant the following relief:

      a. Award Plaintiffs and all similarly situated individuals:

             i.      unpaid wages, plus an equal amount as liquidated damages, pursuant to the

                     FLSA, 29 U.S.C § 216;

             ii.     unpaid wages, plus an amount equal to three times the amount of unpaid

                     wages earned as liquidated damages, pursuant to the DCMWA, D.C. Code

                     § 32-1012;

             iii.    unpaid wages, plus an equal amount as liquidated damages, pursuant to the

                     MWHL, Maryland Code Annotated, Labor and Employment Article §§ 3-

                     427

             iv.     unpaid wages, plus an amount equal to three times the amount of unpaid

                     wages as liquidated damages, pursuant to the DCWPCL, D.C. Code §§ 32-

                     1303(4) and 32-1308;

             v.      unpaid wages, plus an amount equal to three times the amount of unpaid

                     wages as liquidated damages, pursuant to the MWPCL, Maryland Code,

                     Labor and Employment Article §§ 3-507.2;

             vi.     $500 per violation in which Plaintiffs and similarly situated individuals

                     were misclassified pursuant to the DCWFA, D.C. Code § 32-1331.01.15;

             vii.     The wages, salary, employment benefits, and other compensation denied

                     or lost to them by reasons of the violations of the DCWFA, as well as

                     compensatory damages and treble damages for those lost wages and

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                     benefits;

             viii.   Damages incurred for the misclassification of Plaintiffs and similarly

                     situated individuals, plus an amount equal to three times such damages;

                     pursuant to the MWFA, Maryland Code, Labor and Employment Article §§

                     3-911;

      b. Award the Plaintiffs reasonable attorneys’ fees and expenses incurred in the

         prosecution of this action;

      c. Award Plaintiffs the costs that they incur in the prosecution of this action;

      d. Award any additional relief the Court deems just.



                                            Respectfully submitted,



                                            /s/ Rachel Nadas
      Dated: 11/14/2019                     Rachel Nadas, VSB # 89440
                                            Matthew K. Handley, pro hac vice forthcoming
                                            HANDLEY FARAH & ANDERSON PLLC
                                            777 6th Street, NW – Eleventh Floor
                                            Washington, DC 20001
                                            Telephone:      202-899-2991
                                            email: rnadas@hfajustice.com

                                            Matthew B. Kaplan, VSB # 51027
                                            THE KAPLAN LAW FIRM
                                            1100 N Glebe Rd, Suite 1010
                                            Arlington, VA 22201
                                            (703) 665-9529
                                            mbkaplan@thekaplanlawfirm.com


                                            Attorneys for Plaintiffs




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